Case 18-30766   Doc 1   Filed 09/10/18   Entered 09/10/18 09:56:51   Desc Main
                           Document      Page 1 of 9
Case 18-30766   Doc 1   Filed 09/10/18   Entered 09/10/18 09:56:51   Desc Main
                           Document      Page 2 of 9
Case 18-30766   Doc 1   Filed 09/10/18   Entered 09/10/18 09:56:51   Desc Main
                           Document      Page 3 of 9
Case 18-30766   Doc 1   Filed 09/10/18   Entered 09/10/18 09:56:51   Desc Main
                           Document      Page 4 of 9
Case 18-30766   Doc 1   Filed 09/10/18   Entered 09/10/18 09:56:51   Desc Main
                           Document      Page 5 of 9
Case 18-30766   Doc 1   Filed 09/10/18   Entered 09/10/18 09:56:51   Desc Main
                           Document      Page 6 of 9
Case 18-30766   Doc 1   Filed 09/10/18   Entered 09/10/18 09:56:51   Desc Main
                           Document      Page 7 of 9
Case 18-30766   Doc 1   Filed 09/10/18   Entered 09/10/18 09:56:51   Desc Main
                           Document      Page 8 of 9
Case 18-30766   Doc 1   Filed 09/10/18   Entered 09/10/18 09:56:51   Desc Main
                           Document      Page 9 of 9
